  Case: 1:06-cv-04481 Document #: 746 Filed: 10/01/18 Page 1 of 6 PageID #:28289



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

KENT EUBANK, JERRY DAVIS, RICKY
FALASCHETTI, RITA CICINELLI,
ROBERT JOSEPHBERG, JEFFREY ACTON,
KENNETH HECHTMAN, JAMES NEIMAN,
AMY CHASIN and EDWARD RUHNKE,
individually and on behalf of all others
similarly situated,                                    No.: 06 C 4481

                              Plaintiffs,              Hon. Sharon Johnson Coleman

       v.

PELLA CORPORATION and PELLA
WINDOWS AND DOORS, INC.,

                              Defendants.



                 THEODORE FRANK’S OPPOSITION TO
 PLAINTIFFS’ MOTION FOR LEAVE TO SUBMIT SUPPLEMENTAL AUTHORITY

       Three months after the deadline for objecting to Mr. Frank’s attorney’s fees request, one

month after the deadline to submit motions for final approval, and two weeks after the fairness

hearing in this case, Class Counsel have returned to this Court with “supplemental authority”

that, they say, demonstrates Mr. Frank is not entitled to attorney’s fees for his successful efforts

on appeal. That success resulted in reversal of the “inequitable” and “scandalous” settlement

initially negotiated in this case, and paved the way for the vastly improved settlement now before

the Court. Eubank v. Pella Corp., 753 F.3d 718, 721 (7th Cir. 2014).

       The deadline for submitting this authority has long since passed, and it is irrelevant in any

event. It does nothing to undermine Mr. Frank’s entitlement to a fee award, and indeed Class

Counsel do not cite a single case to even attempt to demonstrate relevance. Under controlling

precedents, when an objector “persuade[s] the judge to disapprove” a deficient settlement “and
     Case: 1:06-cv-04481 Document #: 746 Filed: 10/01/18 Page 2 of 6 PageID #:28290



as a consequence a settlement more favorable to the class is negotiated and approved, the

objectors will receive a cash award that can be substantial.” Eubank, 753 F.3d at 720. By that

standard, Mr. Frank is entitled to an award of attorney’s fees. See In re Trans Union Corp.

Privacy Litig., 629 F.3d 741, 748 (7th Cir. 2011).

                                         ARGUMENT

I.       Class Counsel’s Motion Is Untimely

         Class Counsel could have submitted the purported evidence attached to their motion long

ago. For that fundamental reason their motion must be denied. See Milligan v. Bd. of Trs., S. Ill.

Univ., No. 09-cv-320, 2010 WL 4818387, at *1 (S.D. Ill. Nov. 16, 2010) (denying motion for

leave to submit supplemental authority that “represent[ed] no new proposition of law and no new

application of fact necessary or helpful to the resolution of this case” (emphasis added)). Indeed,

Class Counsel fail not only to claim that they could not have located the attachments to their

motion prior to the final fairness hearing on September 14, 2018; they do not even state that they

had not located these documents by then. The Frank Declaration submitted by Class Counsel

dates to 2015, see Dkt. 743-4—three years before the briefing on attorneys’ fees in this case.

And the Edelson offer of judgment became publicly available no later than September 4, 2018,

Dkt. 743-2—over one week before the fairness hearing in this case. Class Counsel give no

reason why these papers could not have been submitted with their earlier filings or, at the very

least, before the fairness hearing. Their failure to do so is particularly egregious because Class

Counsel were very aware of the Edelson case, given their efforts to make it relevant both in

briefing on attorneys’ fees, see Dkt. 698 at 16 (discussing Edelson case), and in their failed

attempt to depose Mr. Schulz, see Dkt. 718. The Court should deny their motion on that basis

alone. Cf. United States v. Harris, No. 99-3257, 2000 WL 1657963, at *2 (7th Cir. Nov. 3,

2000) (“sole purpose” of supplemental authority letter “is to bring to our attention pertinent

                                                2
  Case: 1:06-cv-04481 Document #: 746 Filed: 10/01/18 Page 3 of 6 PageID #:28291



authorities that were not previously available” (emphasis added)); PFS Distrib. Co. v.

Raduechel, 574 F.3d 580, 588 n.2 (8th Cir. 2009) (notification of supplemental authorities should

“consist of intervening decisions or new developments” (quotation marks omitted)).

II.    The Supplemental Authority Is Irrelevant

       Regardless of the timing, Class Counsel’s proffered authorities have no bearing on Mr.

Frank’s entitlement to attorney’s fees in this case. As one court stated in the appellate context,

the submission of supplemental authorities “is not to be used as a vehicle to bombard [the] Court

with distracting and irrelevant documents.” Rep. of Ecuador v. Chevron Corp., 638 F.3d 384,

388 n.2 (2d Cir. 2011). “[D]istracting and irrelevant” is precisely what these “new” authorities

are; they do nothing to undermine Mr. Frank’s entitlement to fees.

       For example, Class Counsel invoke a Rule 68 offer of judgment in an unrelated case to

attack Christopher Bandas, Mr. Frank’s co-counsel in representing Objector Schulz. Dkt. 743

¶¶ 4-9. But Mr. Bandas’s offer of judgment was not accepted, see Plaintiff’s Response to

Defendants’ Motion for Entry of Judgment at 1, Edelson PC v. The Bandas Law Firm PC, No.

16-cv-11057 (N.D. Ill. filed Sept. 12, 2018) (Dkt. No. 115), and Rule 68 makes clear that

“[e]vidence of an unaccepted offer is not admissible except in a proceeding to determine costs,”

Fed. R. Civ. P. 68(b). In other words, an unaccepted offer of judgment under Rule 68 is

evidence of nothing at all.

       More fundamentally, whatever the allegations in the Edelson complaint say of Mr.

Bandas’s conduct in other cases, they say nothing of Mr. Frank’s advocacy in this case. And

Mr. Frank’s advocacy in this case—and the merits of Mr. Schulz’s objection to the prior

settlement—were vindicated by the Seventh Circuit’s decision reversing the district court’s




                                                3
    Case: 1:06-cv-04481 Document #: 746 Filed: 10/01/18 Page 4 of 6 PageID #:28292



approval of the “scandalous” and “inequitable” settlement that the parties reached initially.

Eubank, 753 F.3d at 721.1

        Class Counsel’s reliance on the three-year-old Frank Declaration is also misplaced. Class

Counsel argue that the declaration reveals “self-dealing” between Mr. Frank and Mr. Bandas.

Dkt. 743 ¶ 12. If the Court accepts this late submission, we encourage the Court to read the

declaration in its entirety; it reveals no such thing. In fact, Mr. Frank’s declaration made clear

that he eschewed the very objector model that Class Counsel now criticize—the practice of

appealing approval of a class settlement not to vindicate the rights of an aggrieved class, but to

extract payment from the settling class members in exchange for dismissing the appeal. See,

e.g., Dkt. 743-4 ¶¶ 4, 16-18, 24, 33, 52, 69, 71, 73, 77, 80, 82, 84; In re Sw. Airlines Voucher

Litig., 898 F.3d 740, 744 (7th Cir. 2018) (noting Mr. Frank’s “Center for Class Action Fairness

‘does not seek to obtain payments for withdrawing objections and appeals to settlement

approvals’ ”).2 Nor does it matter that Mr. Bandas paid Mr. Frank independently of the fee

award that Mr. Frank now seeks. See Am. Int’l Grp., Inc. v. ACE INA Holdings, Inc., Nos. 07-

cv-2898, 09-cv-2026 , 2012 WL 651727, at *15 (N.D. Ill. Feb. 28, 2012) (awarding common-

fund attorneys’ fees to class counsel who had been previously paid by third party); see also



1
  Class Counsel continue to maintain that Mr. Lang was responsible for the appellate success. As
Mr. Frank has explained elsewhere, Mr. Lang was at most a joint cause of the appellate success
alongside Mr. Frank. And Mr. Frank’s fee request already takes account of Mr. Lang’s efforts;
Mr. Frank seeks only half the fees attributable to the appellate effort.
2
  There is irony in Class Counsel’s attack on Mr. Frank’s ethics. In this case, Mr. Frank was the
only attorney who did not offer to dismiss his appeal in exchange for payment from the conflict-
ridden class counsel that negotiated the initial settlement. See Pet. for Rehr’g at 12-13 & n.6,
Eubank v. Pella Corp., No. 13-2091 (7th Cir. June 16, 2014), Doc. 98-1. Even Mr. Lang, who
Class Counsel praise, apparently sought such payment and was willing to relinquish his
challenge to a “scandalous” and “inequitable” settlement for the right price. Id. “Only Ted
Frank did not make these demands.” Id.


                                                4
  Case: 1:06-cv-04481 Document #: 746 Filed: 10/01/18 Page 5 of 6 PageID #:28293



Fairley v. Patterson, 493 F.2d 598, 605-06 (5th Cir. 1974) (court properly awarded attorneys’

fees where attorneys had already received compensation from tax-free foundation).

       Ultimately, when an objector’s efforts yield a better deal for the class, the objector is

entitled to compensation. Eubank, 753 F.3d at 720. That is true where, as here, the successive

efforts of multiple parties were a joint cause of the improved value. Trans Union, 629 F.3d at

747-48. And any such fee award should approximate the fee paid on the open market in an ex

ante negotiation. Under those principles, Mr. Frank is entitled to his requested attorney’s fee.

Nothing in Class Counsel’s “new” authorities changes that.

                                       CONCLUSION

       The Court should deny Class Counsel’s motion.



Dated: October 1, 2018                        Respectfully submitted,

                                              /s/ Thomas J. Wiegand
                                              Thomas J. Wiegand
                                              MoloLamken LLP
                                              300 North LaSalle Street
                                              Chicago, IL 60654
                                              (312) 450-6703 (telephone)
                                              (312) 450-6701 (facsimile)
                                              twiegand@mololamken.com

                                              Eric R. Nitz
                                              MoloLamken LLP
                                              The Watergate, Suite 660
                                              600 New Hampshire Avenue, N.W.
                                              Washington, D.C. 20037
                                              (202) 556-2021 (telephone)
                                              (202) 536-2021 (facsimile)
                                              enitz@mololamken.com

                                              Attorneys for Theodore Frank




                                               5
  Case: 1:06-cv-04481 Document #: 746 Filed: 10/01/18 Page 6 of 6 PageID #:28294



                                  CERTIFICATE OF SERVICE

           I hereby certify that, on October 1, 2018, I filed with the Clerk of the Court for the

Northern District of Illinois the foregoing Opposition to Plaintiffs’ Motion for Leave To Submit

Supplemental Authority using the CM/ECF System, which will effect service on all registered

parties.

                                                             /s/ Thomas J. Wiegand




                                                 6
